
COBB, Judge
(concurring in part and dissenting in part).
I agree with the majority’s decision except insofar as it affirms the issue addressing the appellant’s Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000), claim. I believe that the appellant’s challenge to his sentence enhancement is entitled to further review. See my special writing concurring in Judge Shaw’s special writing as to this issue in Poole v. State, [Ms. CR-99-1200, August 31, 2001] — So.2d-(Ala.Crim.App.2001). As to those points on which I disagree with Judge Shaw, see my special writing in Poole, — So.2d ——.
